Case 1:03-cr-00032-IMK Document 337 Filed 08/24/07 Page 1 of 14 PageID #: 970
Case 1:03-cr-00032-IMK Document 337 Filed 08/24/07 Page 2 of 14 PageID #: 971
Case 1:03-cr-00032-IMK Document 337 Filed 08/24/07 Page 3 of 14 PageID #: 972
Case 1:03-cr-00032-IMK Document 337 Filed 08/24/07 Page 4 of 14 PageID #: 973
Case 1:03-cr-00032-IMK Document 337 Filed 08/24/07 Page 5 of 14 PageID #: 974
Case 1:03-cr-00032-IMK Document 337 Filed 08/24/07 Page 6 of 14 PageID #: 975
Case 1:03-cr-00032-IMK Document 337 Filed 08/24/07 Page 7 of 14 PageID #: 976
Case 1:03-cr-00032-IMK Document 337 Filed 08/24/07 Page 8 of 14 PageID #: 977
Case 1:03-cr-00032-IMK Document 337 Filed 08/24/07 Page 9 of 14 PageID #: 978
Case 1:03-cr-00032-IMK Document 337 Filed 08/24/07 Page 10 of 14 PageID #: 979
Case 1:03-cr-00032-IMK Document 337 Filed 08/24/07 Page 11 of 14 PageID #: 980
Case 1:03-cr-00032-IMK Document 337 Filed 08/24/07 Page 12 of 14 PageID #: 981
Case 1:03-cr-00032-IMK Document 337 Filed 08/24/07 Page 13 of 14 PageID #: 982
Case 1:03-cr-00032-IMK Document 337 Filed 08/24/07 Page 14 of 14 PageID #: 983
